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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


     IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
     PRODUCTS LIABILITY                                                                 20-MD-2924
     LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

     _______________________________/

    THIS DOCUMENT RELATES TO: ALL CASES

                                       PRETRIAL ORDER # 48
                                      Remote Deposition Guidelines

           This Order shall govern the conduct of Remote Depositions, as defined herein, of all

    witnesses in all cases filed in or transferred to this MDL. MDL Counsel conferred to formulate

    this Remote Deposition protocol to assist in discovery during the COVID-19 global pandemic.

    The Plaintiffs and Defendants (the “Parties”) agree that the preference is to return to traditional

    in-person depositions where and when appropriate under applicable federal, state, and local orders

    or guidance, but given that conditions may vary for some time, the following provisions will

    govern until otherwise agreed between the Plaintiffs’ Co-Lead Counsel and Defendants’ Co-Lead

    Counsel or lifted or modified by the Court. The Court and Parties may revisit these procedures,

    and the Parties shall continue to meet and confer based on developments in the conditions

    applicable to particular depositions.

           Accordingly, pursuant to Federal Rule of Civil Procedure 30(b)(4), this Court hereby issues

    the following protocol to govern any depositions taken in In re: Zantac (Ranitidine) Products

    Liability Litigation where all, or most, of the primary participants, including the court reporter and

    videographer, are attending remotely (“Remote Deposition”). For the purpose of this Order,

    “primary participants” means the deponent, deponent’s counsel, counsel for noticing party, lead
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    MDL counsel (or designee), opposing counsel for noticing party, counsel for party affiliated with

    deponent (if different than deponent’s counsel), the court reporter, the videographer, and translator

    for the witness (if required). The unique circumstances that have led to this Order are evolving,

    and the Court may revisit this issue periodically and make any necessary adjustments.

              This Order applies solely to the procedures for conducting Remote Depositions. The Court

    may, at a future time, enter an Order that establishes more general deposition guidelines. 1

              1.      Subject to all of the conditions below, depositions for cases filed in In re: Zantac

        (Ranitidine) Products Liability Litigation, Case No. 20-md-2924, may be noticed to take place

        remotely via video or internet video conference technology. A deposition that is noticed to take

        place remotely without advance agreement that the witness is able to proceed remotely shall be

        deemed void and unenforceable ab initio, and no motion shall be necessary to quash such a notice.

        Any disagreements regarding the availability of the witness shall be resolved by the Court.

              2.      The protocols in this Order shall apply to depositions of fact witnesses. This Order

        shall not apply to expert depositions.

              3.      Remote Depositions shall be recorded by stenographic means consistent with the

        requirements of Federal Rule of Civil Procedure 30(b)(3), but, given the COVID-19 pandemic,

        the court reporter may not be physically present with the deponent. The Parties agree not to

        challenge the validity of any oath administered by the court reporter, even if the court reporter is

        not a notary public in the state where the deponent is located at the time of the deposition.




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      In the proposed version of this Order that the parties submitted to the Court for approval, the parties included
    language referencing a forthcoming Order that would establish general deposition guidelines. To date, the Court has
    not received the parties’ proposal for that Order. The Court encourages the parties to continue to work together to
    come to an agreement on and submit proposed deposition guidelines as soon as practicable, as the guidelines will be
    an important procedural tool for managing discovery in this MDL. See Manual for Complex Litigation § 11.45
    (4th ed. 2004); Bolch Jud. Inst., Duke Law Sch., Guidelines and Best Practices for Large and Mass-Tort MDLs 8-9
    (2d ed. 2018).

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           4.     The court reporter will stenographically record the testimony, and the court

    reporter’s transcript shall constitute the official record. The videographer will simultaneously

    videotape the deposition and preserve the video recording. With the exception of the court

    reporter and videographer, the deposition may not otherwise be recorded electronically.

           5.     The court reporter may be given a copy of the video recording of the deposition and

    may review such video recording to improve the accuracy of any written transcript.

           6.     The Parties agree that the court reporter is an “Officer” as defined by Federal Rule

    of Civil Procedure 28(a)(2) and shall be permitted to administer the oath to the witness via the

    videoconference.

           7.     The Party that noticed the deposition shall provide the court reporter with a copy

    of this Order at least 24 hours in advance of the deposition.

           8.     At the beginning of each deposition, consistent with Federal Rule of Civil

    Procedure 30(b)(5)(A), the videographer shall begin the deposition with an on-the-record

    statement that includes: (i) the officer’s name and company affiliation; (ii) the date, time, and

    place of the deposition; (iii) the deponent’s name; (iv) the officer’s administration of the oath or

    affirmation to the deponent; (v) the examining attorney for the deposition; and (vi) a statement

    on the record that all persons attending the deposition will be identified in the final stenographic

    transcript.

           9.     At the beginning of each segment of the deposition, consistent with Federal Rule

    of Civil Procedure 30(b)(5)(B), the videographer shall begin that segment of the Remote

    Deposition by reciting: (i) the officer’s name and business address; (ii) the date, time, and place

    of the deposition; and (iii) the deponent’s name.




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          10.     All deposition notices must identify the company that will host and record the

    Remote Deposition (the “Remote Deposition Vendor”) and contain a general description of how

    those attending may access the remote connection being utilized (e.g., GoToMeeting, Zoom,

    WebEx). The party noticing the deposition shall make best efforts to provide the witness and all

    other Attendees with detailed instructions regarding how to participate in the Remote Deposition

    at least seven calendar days before the deposition. The Parties agree that the party noticing the

    Remote Deposition may select the service and platform for the remote deposition.

          11.     To host a Remote Deposition, a Remote Deposition Vendor must have

    implemented adequate security measures to ensure the confidentiality of the Remote Deposition

    (e.g., video and audio feeds, exhibits). These security measures include using tools such as a

    “virtual waiting room” that allows the court reporter to admit only individuals authorized to attend

    the deposition and disabling the “record” feature in the Remote Deposition Technology for the

    witness and attending attorneys. In addition, to prevent confidential documents from being

    downloaded by witnesses, electronic exhibits may only be shared with the witness through the

    Remote Deposition Technology via a hyperlink to file sharing software (to be agreed upon in

    advance) with the download function disabled.

          12.     No later than 48 hours in advance of a deposition, the Parties shall provide names

    of all planned Participants and Attendees to the vendor retained to facilitate the deposition.

    Attendees other than Participants shall place their microphones on “mute” during the deposition

    except when needed to assert an objection. Attendees appearing remotely other than Participants

    shall also turn off their camera, such that they are not visible on screen to other Participants. Any

    individual that is physically present with the deponent during the deposition shall turn on their

    camera, such that they are always visible on screen to the other Participants. To the extent a



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    party’s designated Attendee is unable to attend the deposition for any reason within the final

    24-hour period, that party may designate a new Attendee. Upon notice to all parties, that new

    Attendee may use the credentials and/or password provided to the original Attendee.

          13.     The noticing party and/or its vendor must ensure that only registered Participants

    and Attendees are sent a link to join the deposition; no link should be posted on a website or

    otherwise made publicly available. The vendor facilitating the deposition shall allow only

    authorized Attendees to access the deposition by using features such as a “waiting room.” The

    vendor shall maintain a list of all Participants and Attendees.

          14.     The vendor shall provide a real-time transcript during the deposition that shall be

    available to all Participants and Named Attendees, upon request, via a feed that can be accessed

    through the same device on which the video feed is being viewed or via a second device.

          15.     The deponent must have sufficient internet connectivity and bandwidth to support

    a video deposition. Such capacity shall be sufficient to ensure that, when used with the deposition

    platform, there will be (a) high-quality video upload (from the deponent) and download (to other

    Participants), (b) no material time discrepancy between audio and video, and (c) consistent

    connectivity, with no material disruptions.       The available internet connection must be a

    Broadband connection (cable or satellite) of at least 10Mbps or better.

          16.     At least 24 hours before the Remote Deposition is scheduled to start, defending

    counsel, the witness, and the Remote Deposition Vendor shall conduct tests of the system and

    equipment that will be used to conduct the Remote Deposition (the “Remote Deposition

    Technology”). If a witness noticed for a Remote Deposition does not have a webcam-equipped

    tablet, desktop, or laptop computer that can be used during the deposition, counsel who noticed

    the deposition shall provide the deponent with agreed-upon equipment containing the audio,



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    webcam, and Wi-Fi connectivity needed to participate in the deposition. The witness must receive

    such equipment no later than 48 hours before the deposition.

          17.     All Remote Depositions shall be conducted during normal business hours within

    the witness’s local time zone. Parties are expected to grant reasonable accommodations on

    scheduling and timing of depositions. The deposition shall be subject to any aggregate time

    limitations set forth in any future Order providing deposition guidelines.

          18.     At the time of the deposition, the witness, all attorneys, and all support staff shall

    advise the court reporter of his or her physical location.

          19.     The witness should endeavor to participate in the deposition from a quiet, well-lit,

    indoor location, while seated in front of a neutral background, and facing the camera being used

    to record the witness.

          20.     Other than the application required to conduct the deposition, the witness shall not

    have any other applications open or running on the electronic device being used for the deposition.

    To confirm that no prohibited applications are open or running on the witness’s electronic device,

    the Remote Deposition Vendor shall permit the witness to share the screen of the witness’s

    electronic device.

          21.     Only the witness’s counsel and in-house counsel for the Party affiliated with the

    witness is/are permitted to be in the same location as the witness during a Remote Deposition, at

    the sole discretion of the witness.

          22.     If any counsel for the witness attends the deposition in person, all in attendance

    shall also log into the Remote Deposition Videoconference so that all Participants can see and

    hear the counsel for the witness or otherwise maintain a camera view showing both the witness

    and counsel (or any other persons assisting in the deposition, such as a paralegal or legal assistant).



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    Both counsel and the witness shall also comply with any government law, regulation, or guidance

    regarding public health and safety during the COVID-19 pandemic.

          23.     To avoid any potential disruptions of a Remote Deposition, those attending shall

    enable “do not disturb” settings for applications not in use, including but not limited to Skype,

    instant messaging, and/or e-mail notifications. The Court recognizes that the microphones for

    certain Attendees (such as the witness, the court reporter, the attorney taking the deposition, and

    the attorney defending the deposition) must remain on when the deposition is on the record. Other

    Attendees should mute microphones when not speaking. The participating attorneys must be

    visible to all other Participants during the deposition.

          24.     A videographer employed by the Remote Deposition Vendor will record the

    witness’s deposition testimony by the best technological means available, including remote video

    capture/recording. The video recording of the deposition may only be suspended during the

    deposition upon stipulation by counsel conducting and defending the deposition. With the

    exception of the videographer and the court reporter, the deposition may not otherwise be

    recorded electronically without the consent of the Parties. The fact that a deposition was noticed

    to take place remotely and was recorded remotely shall not, by itself, be a sufficient basis for

    preventing the Remote Deposition from being admitted at trial with the same effect as a deposition

    video that was recorded in-person.

          25.     At least seven days in advance of any Remote Deposition, counsel for the witness

    shall inform counsel taking the deposition whether he or she will be attending in person or

    attending remotely and inform counsel taking the deposition of all who plan to attend the

    deposition in person.




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          26.     For any deposition exhibit that exceeds 100 pages, counsel taking the deposition

    shall provide a hard copy for (i) the witness, and (ii) the witness’s attorney (only if that attorney

    is attending in person). If a witness has individual circumstances relating to the use of electronic

    or hard copies of exhibits, the Parties shall confer on a reasonable accommodation for the witness.

    If the witness’s attorney is attending remotely, that attorney will be provided with electronic

    copies of the exhibits which are identical to the hard copy and electronic exhibits provided to the

    witness.    All exhibits less than 100 pages shall be provided to the witness and counsel

    electronically, as described herein. If defending counsel will be attending remotely, hard copies

    of exhibits will be shipped in boxes to the witness’s location so as to arrive at least one (1) day

    prior to the deposition. If defending counsel will be attending in person, both sets of hard copy

    exhibits will be shipped to a location identified by the defending attorney so as to arrive at least

    one (1) day prior to the deposition. Within the box each exhibit may be sealed in its own envelope.

    Neither the box nor an envelope may be opened by the witness or attorney until instructed to by

    the examining attorney and both the box and envelopes will be opened on camera. This provision

    shall not preclude the examining attorney from utilizing electronic versions of unanticipated

    exhibits where reasonably necessary.       Following the deposition, it shall be the defending

    attorney’s responsibility to ensure that any hard copy documents sent to the witness are destroyed

    in accordance with the Confidentiality Order (Pretrial Order # 26).

          27.     A witness may be required to use a keyboard, mouse, or other similar means to

    open and/or advance the pages of an exhibit. The fact that a witness was provided with an

    electronic copy of an exhibit will be an insufficient basis to object to the admissibility of that

    exhibit at trial. During the deposition, the Remote Deposition Technology must allow counsel to




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    display and annotate exhibits for the witness, add and remove exhibits, and change the order in

    which the exhibits are presented to the witness.

          28.     If an unusual circumstance arises where counsel conducting the witness

    examination could not have anticipated using an exhibit and therefore could not provide a hard

    copy of the exhibit in advance of the deposition, that counsel may present the exhibit

    electronically using a shared screen. An exhibit provided only electronically in this manner must

    be made available to the deponent to review in its entirety, the witness must be afforded the

    independent ability to review the exhibit in its entirety, and the witness must be afforded the

    independent ability to control manipulation of the document (scrolling, etc.) to facilitate that

    review. Full electronic copies of the exhibit must be transmitted to all Participants, and received

    by them, before questioning begins on the exhibit. The attorney using the exhibit will be

    responsible for providing the marked original to the court reporter.

          29.     Following completion of the deposition, the deponent will secure the exhibits that

    were used in the deposition in an envelope or box immediately following the deposition and will

    not alter any exhibit (mark up, remove pages, etc.) after the conclusion of the deposition.

    Participants shall store the exhibits in a secure location that protects confidentiality. Counsel for

    the deponent—or, in the case of an unrepresented deponent, noticing counsel—shall arrange for

    the delivery of the official set of exhibits from the deponent to the court reporter. To preserve

    confidentiality, unused exhibits in the possession of the deponent shall be returned or destroyed

    as the noticing party directs.

          30.     If privileged information is disclosed during the deposition due to a technical

    disruption, or to the extent any privileged conversation between a deponent and the deponent’s




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     counsel is captured by a video conferencing or other recording device, such disclosure shall not

     be deemed a waiver of privilege.

           31.     During the deposition examination, no person attending the deposition shall be

     permitted to communicate with the witness by any means not recorded in the same manner as the

     deposition itself (e.g., no notes, text, or email exchanges with the witness). In the event counsel

     intends to initiate a private communication with any deponent for the purpose of determining

     whether a privilege should be asserted, counsel shall state his or her intention on the record before

     initiating such communication. However, during deposition breaks, the witness’s counsel may

     communicate with the witness, including telephonically, by other electronic means, or directly if

     he or she is present with the witness, consistent with Federal Rule of Civil Procedure 30(c)(l).

           32.     Provided the court reporter provides a breakout room option, during breaks in the

     deposition, the Parties may use the breakout room feature provided by the videoconferencing

     platform, which simulates a live breakout room through videoconference. Conversations in the

     breakout rooms shall not be recorded. The breakout rooms shall be established by the court

     reporter prior to the deposition and controlled by the court reporter. If an Attendee has entered

     or has been inadvertently placed in the breakout room of another party or Participant Attendee,

     the misplaced attendee shall identify himself or herself and leave the breakout room. The

     presence of the misplaced attendee shall not result in the waiver of attorney-client privilege.

           33.     Technical difficulties, including but not limited to pauses, lags, and/or interruptions

     in Internet connection, shall be addressed as they would be in any in-person deposition. The

     parties shall go off the record and attempt to resolve the issue. Technical difficulties shall not

     result in waiver of objections by any party. If any pauses, lags, and/or disruptions are persistent

     or prolonged, the Parties should consider rescheduling the Remote Deposition for a later date.



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           34.     Any Remote Depositions conducted in accordance with these protocols may be

     admitted at trial with the same effect and pursuant to the same evidentiary rules as one recorded

     in-person. The “Confidentiality” or “Highly Confidential” designation of all or portions of

     Remote Depositions will be governed by the provisions of the MDL Protective Order and, in

     addition, may be addressed in a future Order.

           35.     In the event that a party proceeds with a Remote Deposition of a witness pursuant

     to the terms of this Order, then that party shall not be allowed to re-depose the witness for a second

     time absent a showing of good cause and obtaining leave of Court or agreement of the Parties.

           36.     The Parties acknowledge that Remote Depositions may take longer to complete

     than an in-person deposition due to logistical challenges beyond anyone’s control and because it

     may take time for everyone to adjust to the technology. While the Parties will endeavor in good

     faith to comply with the time limits set forth in any applicable deposition protocol, there may be

     circumstances under which depositions may need to exceed time limits on deposition days. The

     Parties will be respectful and collaborative under these circumstances and will make good faith

     efforts to make reasonable accommodations to allow all Parties adequate additional time to

     conduct a fair examination. This section refers only to the concluding time of a deposition and

     not to the presumptive length of record time.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 5th day of

    October, 2020.


                                                   ROBIN L. ROSENBERG
                                                   UNITED STATES DISTRICT JUDGE




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